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8                               UNITED STATES BANKRUPTCY COURT
9                        NORTHERN DISTRICT OF CALIFORNIA – DIVISION 4
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11    In Re:                                              Case No.: 14-41863-RLE
12
      JODI MICHELLE RIVARD,                               Chapter 13
13
                              Debtor.                     DEBTORS’ OPPOSITION TO
14                                                        TRUSTEE’S MOTION TO DISMISS
15                                                        AND REQUEST FOR HEARING

16                                                        HEARING REQUESTED
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18                                                        Date:
                                                          Time:
19                                                        Judge:       Hon. Judge Efremsky
                                                          Crtrm:       201
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                                                          Location:    1300 Clay Street
21                                                                     Oakland, California

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               In her moving papers, the standing Chapter 13 Trustee moves to dismiss this case based
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     on the Debtor’s alleged failure to make plan payments. Trustee alleged that the debtor was in
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     default for one month’s payment. On October 17, 2014 Debtor mailed the Trustee a money
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     order for $880.00, which brings her current through October 2014. Once that payment posts to
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     the Trustee’s account, Debtor will be current on payments to the trustee.
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           DEBTORS’ OPPOSITION TO TRUSTEE’S MOTION TO DISMISS AND REQUEST FOR HEARING -1-
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1           For the foregoing reasons Debtors request that the Trustee’s motion be denied or the
2    matter set for hearing.
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4                                                             SAGARIA LAW, P.C.
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     Dated: October 23, 2014                                  By:    /s/ Elliot Gale
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7                                                             Elliot Gale
                                                              Attorneys for Debtors
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           DEBTORS’ OPPOSITION TO TRUSTEE’S MOTION TO DISMISS AND REQUEST FOR HEARING -2-
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